 8:09-cr-00287-LES-TDT        Doc # 35    Filed: 11/12/09    Page 1 of 6 - Page ID # 106




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )              8:09CR287
                                             )
       vs.                                   )           FINDINGS AND
                                             )          RECOMMENDATION
YER YANG,                                    )
                                             )
                     Defendant.              )


       This matter is before the court on a motion to suppress filed by defendant Yer Yang
(Yang). See Filing No. 25. Yang is charged in the Indictment, with co-defendant Lee Vang
(Vang), with possession with the intent to distribute at least 500 grams or more of
substances containing methamphetamine and marijuana on or about May 1, 2009 (Count
I) in violation of 21 U.S.C. § 841(a)(1) and (b)(1) and criminal forfeiture for $1,287.00 in
U.S. Currency under 21 U.S.C. § 853 (Count 2). See Filing No. 1. Yang seeks to
suppress all evidence obtained by law enforcement officers following the traffic stop that
occurred on May 1, 2009, based on the officer’s undisputed observation of an air freshener
hanging from the vehicle’s rearview mirror. See Filing No. 25.
       On October 13, 2009, the court held an evidentiary hearing on the motion. Yang
was present with her counsel, Michael D. Gooch. Assistant United States Attorney
Thomas J. Kangior represented the United States. During the hearing, the court received
into evidence a transcript of a state court hearing, which abstracted the testimony of
Trooper Rob Jackson (Trooper Jackson) (Exhibit 1); a video disk of the traffic stop (Exhibit
2); and a video disk of photographs and video of the vehicle and its contents (Exhibit 3).
No witnesses testified live at the hearing. A transcript (TR.) of the hearing was filed on
October 14, 2009, upon which the motion was deemed submitted. See Filing No. 34.


                                  FINDINGS OF FACT
       Trooper Jackson has been a trooper with the State of Nebraska for approximately
ten years (Ex. 1 p. 7). Trooper Jackson and his police service dog, Eros, are trained and
 8:09-cr-00287-LES-TDT       Doc # 35     Filed: 11/12/09    Page 2 of 6 - Page ID # 107




certified in the detection of narcotics, among other things (p. 8). On May 1, 2009, at 5:07
p.m., Trooper Jackson observed a white 2008 Hyundai with Nevada license plates traveling
eastbound on Interstate 80, with an air freshener hanging from the rearview mirror (p. 8-9).
The white Hyundai appeared to be a rental vehicle based on identification stickers located
on the rear driver’s side passenger window, which were observed by Trooper Jackson (p.
9-10, 25-26). Trooper Jackson first observed the white Hyundai from the median near mile
markers 24 and 25, but was not able to catch up to it until approximately mile markers 35
to 38 (p. 9, 28-29). Trooper Jackson confirmed the white Hyundai was a rental vehicle and
spoke to the Cheyenne County Attorney about the air freshener being a vision obstruction
providing probable cause for a traffic stop (p. 10-11, 28). In Trooper Jackson’s experience,
every time he has seen an air freshener used in a rental vehicle, he has found illegal
narcotics in the vehicle (p. 9). Aside from the presence of the air freshener, Trooper
Jackson did not observe any law violations that would justify a traffic stop (p. 29).
However, Trooper Jackson followed the white Hyundai to determine if the driver would
commit any other moving violations (p. 10). Trooper Jackson initiated a traffic stop of the
white Hyundai between mile markers 52 and 54 (p. 28-29).
       Trooper Jackson made contact with the driver, Yang, and the front seat passenger,
Vang, and observed numerous additional air fresheners in the front and back seat areas
of the vehicle (p. 11). Trooper Jackson obtained identifying information for the occupants
and a rental agreement for the vehicle (p. 11). Yang and Vang provided conflicting stories
about their relationship and travel plans when questioned by Trooper Jackson (p. 12-15).
After Vang denied consent to search, Trooper Jackson conducted a canine sniff of the
white Hyundai (p. 15). Eros went into a strong alert and indicated the presence of
narcotics in the vehicle with the strongest source at the left corner of the trunk (p. 17).
Trooper Jackson opened the trunk and could immediately smell a strong odor of marijuana
(p. 18). In the trunk, Trooper Jackson located bundles of marijuana and packages of
methamphetamine in birthday paper wrapped packages and/or coffee canisters (p. 18-19).




                                             2
 8:09-cr-00287-LES-TDT        Doc # 35     Filed: 11/12/09    Page 3 of 6 - Page ID # 108




                                    LEGAL ANALYSIS
A.     Traffic Stop
       Yang argues Trooper Jackson did not have legal justification to effectuate a traffic
stop of the white Hyundai on May 1, 2009. Specifically, Yang contends there is no
evidence she violated the foreseeable and constitutional meaning of the Nebraska statute
regarding windshield obstructions because the air freshener did not actually obstruct her
vision. In the alternative, Yang asserts Trooper Jackson’s observation of an air freshener
used in a rental vehicle does not supply reasonable suspicion to conduct an investigatory
stop of the vehicle. For these reasons, Yang seeks to suppress any evidence stemming
from the May 1, 2009, traffic stop of the white Hyundai.
       A law enforcement officer’s observation of a traffic violation provides probable cause
to stop a vehicle. United States v. Arciniega, 569 F.3d 394, (8th Cir. 2009); see United
States v. Long, 532 F.3d 791, 795 (8th Cir. 2008) (citing Pennsylvania v. Mimms, 434
U.S. 106, 109 (1977)). There is no dispute Trooper Jackson observed the white Hyundai
with an air freshener hanging from the rearview mirror. Yang does not deny an air
freshener was hanging from the rearview mirror and it is clearly visible on the video of the
traffic stop (Ex. 2). Under Nebraska law, “‘any object’ that obstructs a clear and full view
through the windshield violates Nebraska law.” See United States v. Ramos-Caraballo,
375 F.3d 797, 801 (8th Cir. 2004) (air freshener hanging from rearview mirror justified
traffic stop). Nebraska Revised Statute § 60-6,256 provides:
              It shall be unlawful for any person to operate a motor vehicle
              with any object placed or hung in or upon such vehicle, except
              required or permitted equipment of the vehicle, in such a
              manner as to obstruct or interfere with the view of the operator
              through the windshield or to prevent the operator from having
              a clear and full view of the road and condition of traffic behind
              such vehicle.
Neb. Rev. Stat. § 60-6,256.
       Yang argues her situation is different from the factual and legal scenarios in both
Ramos-Caraballo and Arciniega. The Ramos-Caraballo and Arciniega defendants
argued the Nebraska obstruction statute is either ambiguous or vague. Specifically, those
defendants argued the statute should be construed to permit objects to hang from the

                                             3
 8:09-cr-00287-LES-TDT         Doc # 35     Filed: 11/12/09       Page 4 of 6 - Page ID # 109




mirror if the objects do not significantly obstruct or interfere with the driver’s view. See
Ramos-Caraballo, 375 F.3d at 801; see also Arciniega, 569 F.3d at 397-98 (arguing
statute is “unconstitutionally vague because it is not clear when an obstruction is significant
enough to violate the law.”). In contrast, Vang contends no evidence supports any
contention the air freshener in her vehicle actually did obstruct or interfere at all. In
comparison, Vang asserts the air freshener in this case was small compared to the large
air fresheners described in Ramos-Caraballo and Arciniega. See Ramos-Caraballo,
375 F.3d at 799 (“seven-and-three-quarters-inch long air freshener shaped like a tree and
still partially enclosed in its original packaging”); Arciniega, 569 F.3d at 396 (“large oval
air freshener”). Vang’s argument is unavailing.
       The Ramos-Caraballo and Arciniega courts squarely addressed whether a small
object could be an obstruction by noting “‘any object’ that obstructs a clear and full view
through the windshield violates Nebraska law.” See Ramos-Caraballo, 375 F.3d at 801,
quoted in Arciniega, 569 F.3d at 398.              The Eighth Circuit explicitly rejected any
interpretation of the plain language of the Nebraska statute to include a limitation on the
size or the significance of the obstruction. See Arciniega, 569 F.3d at 397-98 (upholding
constitutionality while noting breadth of the statute). “The wording of the statute plainly
indicates that the Nebraska legislature has already concluded as a matter of policy that any
obstruction (not only a significant obstruction) of a clear and full view of the road is a
safety hazard subject to regulation through this statute.” Ramos-Caraballo, 375 F.3d at
801. Similarly, and unquestionably, the statute cannot be interpreted, as requested by
Vang, to criminalize only the placing of objects that actually obstruct the driver’s view of the
road as to cause an accident or result in a traffic infraction.
       Trooper Jackson’s observation of “any object,” in this case a tree shaped air
freshener, hanging from the rearview mirror provided him with probable cause to believe
he had seen an obstruction of Yang’s “clear and full view through the windshield” of the
white Hyundai. Accordingly, Trooper Jackson’s observation provided him with probable
cause to stop the white Hyundai based on a violation of Neb. Rev. Stat. § 60-6,256.




                                               4
 8:09-cr-00287-LES-TDT        Doc # 35     Filed: 11/12/09    Page 5 of 6 - Page ID # 110




B.     Detention and Search
       Yang does not separately contest the reasonableness of her detention or the search
of the vehicle. In any event, the court finds the detention and search were constitutionally
reasonable. Contemporaneous with a valid traffic stop, “the officer [is] entitled to conduct
an investigation reasonably related in scope to the circumstances that initially prompted
the stop.” Untied States v. Lyons, 486 F.3d 367, 371 (8th Cir. 2007) (quoting United
States v. McCoy, 200 F.3d 582, 584 (8th Cir. 2000) (per curiam)). Additionally, the police
officer may inquire about the driver and other occupant’s destination, purpose of the trip
and whether the police officer may search the vehicle. United States v. Gill, 513 F.3d
836, 845 (8th Cir. 2008). “If the responses of the detainee and the circumstances give rise
to suspicions unrelated to the traffic offense, an officer may broaden his inquiry to satisfy
those suspicions.” United States v. Ward, 484 F.3d 1059, 1061 (8th Cir. 2007) (quoting
United States v. Johnson, 58 F.3d 356, 357 (8th Cir. 1995)). Specifically, an officer may
take further action as necessitated by the information volunteered by the motorist,
observations of the contents of the vehicle, perceptions made the police officer regarding
illegal drug use, and divergent information from the passengers. United States v.
$404,905.00,182 F.3d 296, 647 (8th Cir. 1999). In any event, the scope and length of any
investigation must be reasonable. United States v. Chavez Loya, 528 F.3d 546, 553 (8th
Cir. 2008). “The investigative methods employed should be the least intrusive means
reasonably available to verify or dispel the officer’s suspicion in a short period of time.”
United States v. Ward, 484 F.3d 1059, 1062 (8th Cir. 2007) (quoting United States v.
Bloomfield, 40 F.3d 910, 916 (8th Cir.1994) (en banc)).
       Here, the length of the traffic stop was directly related to Trooper Jackson’s
performance of routine tasks. Upon receiving Yang and Vang’s identifications, Trooper
Jackson conducted checks on their driving records and criminal histories. Trooper Jackson
also asked questions about the pair’s travel plans. After receiving divergent information,
Trooper Jackson sought permission to search the vehicle. When such permission was
declined, Trooper Jackson sought permission to conduct the canine sniff, which revealed
the odor of narcotics. The encounter from the initial traffic stop until the discovery of
narcotics was less than twenty minutes. Such length of time was reasonable to effectuate

                                             5
 8:09-cr-00287-LES-TDT              Doc # 35        Filed: 11/12/09        Page 6 of 6 - Page ID # 111




the routine tasks associated with the traffic stop, under the circumstances, and was not
prolonged by questioning unrelated to the stop. Had Vang declined permission to conduct
the dog sniff, “such a brief detention for a dog sniff at the end of a traffic stop is de minimis
and does not violate the Fourth Amendment.” United States v. Rivera, 570 F.3d 1009,
1014 (8th Cir. 2009). In any event, Trooper Jackson did become increasingly suspicious
of criminal activity tangential to the windshield obstruction based on his observations and
the information given him by Yang and Vang. Eros’s alert to the odor of drugs in the
vehicle provided probable cause for the search. See id. at 1012 (citing Illinois v. Caballes,
543 U.S. 405, 409-10 (2005)). Accordingly, the defendant’s stop and detention are
supported by sufficient legal justification, as is the search of the white Hyundai.


        IT IS RECOMMENDED TO SENIOR JUDGE LYLE E. STROM that:
        Yer Yang’s Motion to Suppress (Filing No. 25) be denied.


                                               ADMONITION
        Pursuant to NECrimR 57.3 any objection to these Findings and Recommendation
shall be filed with the Clerk of the Court within ten (10) business days after being served
with a copy of these Findings and Recommendation.                         Failure to timely object may
constitute a waiver of any objection. The brief in support of any objection shall be filed at
the time of filing such objection. Failure to file a brief in support of any objection may be
deemed an abandonment of the objection.
        DATED this -th day of November, 2009.
                                                            BY THE COURT:
                                                            s/Thomas D. Thalken
                                                            United States Magistrate Judge




         *This opinion m ay contain hyperlinks to other docum ents or W eb sites. The U.S. District Court for
the District of Nebraska does not endorse, recom m end, approve, or guarantee any third parties or the services
or products they provide on their W eb sites. Likewise, the court has no agreem ents with any of these third
parties or their W eb sites. The court accepts no responsibility for the availability or functionality of any
hyperlink. Thus, the fact that a hyperlink ceases to work or directs the user to som e other site does not affect
the opinion of the court.
                                                       6
